                          IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NORTH CAROLINA
                                    RALEIGH DIVISION

                                   Civil Action No.: 5:15-cv-00036-D


PHYSICIANS HEALTHSOURCE, INC., an                   )
Ohio corporation, individually and as the           )
representative of a class of similarly-situated \   )
persons,                                            )
                                                    )
                                   Plaintiff,       )
                                                    )
                v.                                  )
                                                    )
SALIX PHARMACEUTICALS, INC.,                        )
SALIX PHARMACEUTICALS, LTD. and                     )
JOHNDOES 1-10,                                      )
                                                    )
                     Defendants.                    )


                                        ORDER OF DISMISSAL

        Pursuant to the parties' joint Fed. R. Civ. Proc. 41(a)(l)(A)(ii) stipulation of dismissal,

this action is dismissed without prejudice. Each party to bear its own costs.

        SO ORDERED.        This~          day of August, 2017.




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